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                                                           +FI ED-SOUTHERP~ DIVISION
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                                                                          ~ 2018
 3          '
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     Attorneys for Defendant
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10                             UNITED STATES DISTRICT COURT
11                         CENTRAL DISTRICT OF CALIFORNIA
12                                  SOUTHERN DIVISION
13   UNITED STATES OF AMERICA,                      Case No. SA CR
14                Plaintiff,                                ~ ~' p ~'~l~
15          v.                                       Assertion of Fifth and Sixth
                                                     Amendment Rights
16                   ~u~ t ~~-e.~c2
17                Defendant.
18         I,the above-named defendant, hereby assert my Fifth and Sixth Amendment
19   rights to remain silent and to have counsel present at any and all of my interactions with
20   the government or others acting on the government's behalf. I do not wish to, and will
21   not, waive any of my constitutional rights except in the presence of counsel. I do not
22
     want the government or others acting on the government's behalfto question me, or to
23   contact me,seekin~my waiver of any rights, unless my counsel is present.
24
25               s                                          s
26
     Date/Time ~~~~ ~ °                                 a.m./p.m.
27
28   Interpreter:
     If defendant is not English speaker, include the following:
